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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

WENDY STEIL,                                      )
                                                  )
      Plaintiff,                                  )
                                                  )
v.                                                ) CAUSE NO:      1:18-cv-1678
                                                  )
TIMBERLANDS HEALTHCARE, LLC,                      )
                                                  )
      Defendant.                                  )


                   COMPLAINT AND DEMAND FOR JURY TRIAL

                                 I. NATURE OF THE CASE

      1.     This is an action brought by Plaintiff, Wendy Steil (“Steil”), by counsel,

against Defendant, Timberlands Healthcare (“Defendant”), for violating the Family and

Medical Leave Act of 1993, (“FMLA”), as amended, 29 U.S.C. §2601 et seq., American

with Disabilities Act ("ADA"), as amended, 42 U.S.C. § 12101 et. seq. and Indiana law.

                                       II. PARTIES

      2.     Steil, at all times relevant to this litigation, resided within the geographical

boundaries of the Southern District of Indiana.

      3.     Defendant is a corporation that routinely and systematically conducts

business in the Southern District of Indiana.




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                                III. JURISDICTION AND VENUE

       4.       Jurisdiction is conferred on this Court over the subject matter of this

litigation pursuant to 28 U.S.C. §1331; 28 U.S.C. §1343; 28 U.S.C. §1367; 29 U.S.C.

§2617(a)(2) and 42 U.S.C. § 12117.

       5.       Defendant is an “employer” as that term is defined by 29 U.S.C. §2611(4)

and 42 U.S.C. § 12111(5)(A).

       6.       Steil, at all times relevant, was an “eligible employee” as that term is

defined by 29 U.S.C. §2611(2).

       7.       At all times relevant to this action, Steil was an “employee” as that term is

defined by 42 U.S.C. § 12111(4) and 29 U.S.C. § 630(f).

       8.       Steil has a “disability” as that term is defined by 42 U.S.C. § 12102(2).

       9.       Steil is a “qualified individual with a disability” as defined by 42 U.S.C.

§12111(8).

       10.      Steil exhausted her administrative remedies by timely filing a Charge of

Discrimination     against    Defendant     with   the   Equal   Employment      Opportunity

Commission and files this complaint within ninety (90) days of receipt of her Notice of

Right to Sue.

       11.      A substantial part of the events, transactions, and occurrences concerning

this case arose in the geographical environs of the Southern District of Indiana;

therefore, venue is proper in this Court.




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                                IV. FACTUAL ALLEGATIONS

       12.    Steil began working for the Defendant and its predecessor on or about

February 14, 2016. Steil worked as an Account Executive.

       13.    On or about March 7, 2017, Steil was involved in a car accident while on

the job during which she suffered significant long-term injuries, which substantially

limited several of her major life activities.

       14.    Following her accident, Steil was absent intermittently over the next six

weeks. Steil’s absences qualified for protection under the Family Medical Leave Act.

       15.    On or about April 13, 2017, Steil received a letter threatening the

termination of her employment effective May 12, 2017, if she did not increase her sales

volume by that date.

       16.    Steil received a similar letter from Defendant on April 24, 2017 extending

her deadline to increase her sales volume to June 16, 2017 to stave off termination.

       17.    Beginning on or about May 19, 2017, Steil was out on a continuous leave

of absence for her health condition. Steil’s leave of absence qualified for protection

under the Family Medical Leave Act.

       18.    Steil requested an accommodation on or about May 11, 2017. Specifically,

Steil requested that she be provided 120 days following her return to work to increase

her sales volume. Though Defendant never directly responded to Steil’s request, it later

informed Steil that she would have 60 days upon her return to increase her sales

volume.


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      19.       On or about June 7, 2017, Steil was released to return to work by

Defendant’s physician; however, when Steil provided the paperwork to Dan Morand,

her supervisor, he indicated that she could not return until released by Human

Resources. Human Resources finally cleared Steil to return to work on June 16, 2017, but

only for four hours per day as directed by Defendant’s doctor.

      20.       On June 19, 2017, Morand was let go and Steil was required to report to

Ben Konhen. A week later, Defendant terminated Steil’s employment for reasons that

are pretext for discrimination based on her disability, filing for workers compensation

benefits and/or use of leave under the FMLA.

                                      V. LEGAL ALLEGATIONS

                               COUNT I-DISABILITY DISCRIMINATION

      21.       Paragraphs one (1) through twenty (20) of Steil’s Complaint are hereby

incorporated.

      22.       Defendant violated Steil’s rights as protected by the Americans with

Disabilities Act, 42 U.S.C. § 12101 et seq. by failing to accommodate her and subjecting

her to disparate treatment because of her actual or perceived disability.

      23.       Defendant's actions were intentional, willful and in reckless disregard of

Steil’s rights as protected by the ADA.

      24.       Steil has suffered and continues to suffer harm as a result of Defendant’s

unlawful actions.




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                      COUNT II: VIOLATION OF THE FMLA – RETALIATION

       25.        Steil hereby incorporates paragraphs one (1) through twenty-four (24) of

her Complaint.

       26.        Defendant unlawfully retaliated against Steil for her use of leave that

qualified for protection under the FMLA.

       27.        Defendant’s actions were intentional, willful, and in reckless disregard of

Steil’s rights as protected by the FMLA.

       28.        Steil suffered damages as a result of Defendant’s unlawful actions.

                       COUNT III: VIOLATION OF INDIANA COMMON LAW

       29.        Steil hereby incorporates paragraphs one (1) through twenty-eight (28) of

her Complaint.

       30.        Defendant unlawfully retaliated against Steil for exercising her statutory

right to seek Workers Compensation benefits in violation of Frampton v. Central Ind. Gas

Co., 260 Ind. 249, 297 N.E.2d 425 (1973).

       31.        Defendant’s actions were intentional, willful, and in reckless disregard of

Steil’s rights.

       32.        Steil suffered damages as a result of Defendant’s unlawful actions.

                                     VI. REQUESTED RELIEF

       WHEREFORE, Plaintiff, Wendy Steil, by counsel, respectfully requests that this

Court find for Plaintiff and:




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       1.     Reinstate Plaintiff to the position, salary and seniority level she would

have enjoyed but for Defendant’s unlawful employment actions, or award her front pay

in lieu thereof;

       2.     Pay Plaintiff's lost wages and benefits;

       3.     Pay to Plaintiff compensatory damages, including, lost future earning

capacity under the ADA and Indiana law;

       4.     Pay to Plaintiff punitive damages for Defendant’s violations of the ADA

and Indiana law;

       5.     Pay to Plaintiff liquidated damages for Defendant’s violations of the

FMLA;

       6.     Pay to Plaintiff pre- and post-judgment interest;

       7.     Pay Plaintiff's costs and attorney fees incurred in litigating this action;

and,

       8.     Provide any further equitable relief this Court sees fit to grant.


                                   Respectfully submitted,

                                   /s Andrew Dutkanych_______________________
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                             DEMAND FOR JURY TRIAL

      The Plaintiff, Wendy Steil, by counsel, respectfully requests a jury trial as to all

issues deemed so triable.



                                   Respectfully submitted,

                                   /s Andrew Dutkanych_______________________
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